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                         IN T H E U N I T E D S T A T E S D I S T R I C T C O U R T
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES O F AMERICA
                                                          Case No. l:21-cr-00273



STEPHEN MAURY BAKER,                             :        40 U.S.C. § 5104(e)(2)(G)


                         Defendants.

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, tlie United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Steven Maury Baker,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant's guilty plea—that is, i f this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.     The U.S. Capitol, which is located at First Street, SE, in Washington, D . C , is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6, 2021, a joint session o f t h e United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to cerdfy the vote count o f t h e Electoral College o f t h e 2020



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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 P M . Shortly thereafter, by approximately 1:30 P M , the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the Plouse and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      A t approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior fa9ade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.     A t such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members o f the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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        7.       Shortly thereafter, at approximately 2:20 P M , members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings o f t h e United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

P M on January 6, 2021. I n light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check'—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 P M after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


             Stephen Maury Baker's Participation   in the January 6, 2021, Capitol Riot

       8.        On January 6, 2021, defendant Baker entered the U.S. Capitol building and

remained within, near the rotunda, for approximately one hour. The defendant live-streamed his

time in and around the Capitol building, using a cellular phone to broadcast a real-time video of

his time inside. A t one point, the defendant attempted to enter the rotunda, at which point his feed

was disrupted. When his feed was restored, the defendant said, " I can't go into the chamber, my

stream drops."

       9.        The defendant maintained a social media presence on various websites, including

the video sharing site YouTube. There, and elsewhere, he used the name "Stephen Ignoramus" or

some variation of the name. On multiple occasions during the live-stream, while filming and

narrating, the defendant identified himself to off-camera individuals as "Stephen Ignoramus," and

said that he was streaming to YouTube and Instagram. Additionally, in response to a question by


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an off-camera individual asking what his "channel" was, the defendant said, "Stephen Ignoramus."

The defendant used various social media platforms associated with his "Stephen Ignoramus"

handle to broadcast his video in real-time.

                                     Elements of the        Offense

       10.     The defendant knowingly and voluntarily admits to all the elements of 40 U.S.C. §

5104(e)(2)(G). Specifically, he admits that he willfully and knowingly entered the U.S. Capitol

Building knowing that that he did not have permission to do so. The defendant further admits that

while inside the Capitol, defendant willfully and knowingly paraded, demonstrated, or picketed.


                                                Respectfully submitted,

                                                M A T T H E W M . GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052


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                          DEFENDANT'S ACKNOWLEDGMENT


       I , Steven Maury Baker, have read this Statement o f the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free w i l l . No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.




                                       Steven Maury Baker
                                       Defendant



                          ATTORNEY'S ACKNOWLEDGMENT


       I have read this Statement ofthe Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.




Date
                                      David Bos, Esq.
                                      Attorney for Defendant




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